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                                 UNITED STATES DISTRICT COURT
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                               CENTRAL DISTRICT OF CALIFORNIA
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   11   In re Silver Wheaton Corp. Securities         )   Master File No.: 2:15-cv-05146-
        Litigation                                    )   CAS(JEMx)
   12                                                 )   c/w: 2:15-cv-05173-CAS(JEMx)
                                                      )
   13                                                 )   CLASS ACTION
                                                      )
   14                                                 )   [PROPOSED] ORDER GRANTING
                                                      )   JOINT STIPULATION TO
   15                                                 )   EXTEND CASE SCHEDULE
                                                      )
   16                                                 )
   17

   18          Having reviewed the Joint Stipulation to extend the case schedule, and good
   19   cause appearing, IT IS HEREBY ORDERED THAT the case schedule be modified
   20   as follows:
   21

   22                         Event                       Date/Deadline
   23

   24                         Settlement                  May 31, 2018
                              Completion Cut-off
   25
                              Status Conference re:       June 11, 2018
   26                         Settlement                  (11:00 a.m.)
                              Factual Discovery           June 27, 2018
   27
                              Cut-Off
   28
        [PROPOSED] ORDER GRANTING JOINT
        STIPULATION TO EXTEND CASE SCHEDULE
        Case No.: 2:15-CV-05146-CAS-JEM
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    1                         Simultaneous                September 12, 2018
                              Exchange of Expert
    2                         Reports Cut-off
    3                         Simultaneous                October 17, 2018
                              Exchange of Rebuttal
    4                         Reports Cut-off
    5                         Expert Discovery            November 30, 2018
                              Cut-off
    6                         Last Day to File            January 25, 2018
    7                         Motions
                              Pretrial Conference/        July 15, 2019
    8                         Motions in Limine           (11:00 a.m.)
    9                         Hearing
                              Jury Trial                  August 20, 2019
   10
                                                          (9:30 a.m.)
   11

   12          Motions in limine shall be noticed for the date and time of the Pretrial
   13   Conference, and filed 28 days prior thereto. Motions in limine/oppositions shall not
   14   exceed five (5) pages in length and no replies will be accepted.
   15

   16   Dated: February 8, 2018               ___                                  _____
   17
                                              Hon. Christina Snyder
                                              United States District Judge
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        [PROPOSED] ORDER GRANTING JOINT             -1-
        STIPULATION TO EXTEND CASE SCHEDULE
        Case No.: 2:15-CV-05146-CAS-JEM
